Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 1 of 38




           EXHIBIT 17
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 2 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 3 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 4 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 5 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 6 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 7 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 8 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 9 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 10 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 11 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 12 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 13 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 14 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 15 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 16 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 17 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 18 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 19 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 20 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 21 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 22 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 23 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 24 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 25 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 26 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 27 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 28 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 29 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 30 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 31 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 32 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 33 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 34 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 35 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 36 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 37 of 38
Case 1:17-cv-11008-MLW Document 341-17 Filed 06/04/18 Page 38 of 38
